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                                                        IN THE UNITED STATES DISTRICT COURT
                                                          CENTRAL DISTRICT OF CALIFORNIA
                            16                                    EASTERN DIVISION
                            17
                                 THE APPEAL, INC., and ETHAN                      Case No. 5:22-cv-02111-WLH-AFM
                            18   COREY,
                            19                    Plaintiffs,                     PLAINTIFFS’ OBJECTIONS TO
                                                                                  DEFENDANT’S EX PARTE
                            20           v.                                       APPLICATION FOR A REPLY
                            21 UNITED STATES DEPARTMENT                           BRIEF
                               OF JUSTICE’S OFFICE OF JUSTICE
                            22 PROGRAMS,

                            23                    Defendant.                      Hon. Wesley L. Hsu
                                                                                  United States District Judge
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                                 Objections to Defendant’s Ex Parte Application
                                 Case No. 5:22-cv-02111
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                                              #:1005


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             Plaintiffs respectfully submit their objections to the Department of Justice’s Ex

 2   Parte Application to File a Reply Brief in Support of its Submission of Categories of
 3
     Information for Withholding Pursuant to Exemption 6.
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 5           As Plaintiffs indicated to Defendant—and is noted in the Defendant’s

 6   application—Plaintiffs oppose Defendant’s request for a reply because the Court did
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     not contemplate such a filing in its order for summary judgment or during oral
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 9   argument. While Plaintiffs anticipated ongoing conferral about the redactions with

10   the Court’s input, a reply does not serve that purpose. Rather, back-and-forth without
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     the Court’s guidance only serves to further delay the release of the DCRA records.
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13           Furthermore, the arguments to which DOJ intends to respond are not new.

14   They were raised in both the summary judgment briefing as well as oral argument.
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     Plaintiff’s objections included a counter-proposal responding as thoroughly as
16

17   possible to DOJ’s overbroad proposal and addressing the issues that were previously
18   raised. As anticipated during oral argument, the ideal procedure would allow for the
19
     Court to weigh in on redactions and for any additional submissions to be tailored to
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21   the Court’s remaining concerns.
22           Plaintiffs do not oppose the vacatur of pretrial deadlines and the trial date.
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     Objections to Defendant’s Ex Parte Application
     Case No. 5:22-cv-02111
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                                              #:1006


 1

 2                                                CONCLUSION
 3
             The Court should deny Defendant’s request for ex parte relief.
 4
     DATED: January 22, 2025                          DAVIS WRIGHT TREMAINE LLP
 5

 6
                                                      By: /s/ Thomas R. Burke
 7                                                       Thomas R. Burke
                                                        Attorneys for Plaintiffs
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     Objections to Defendant’s Ex Parte Application
     Case No. 5:22-cv-02111
